Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 1 of 20




                  EXHIBIT 18
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                               Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 2 of 20

               4                DEPARTMENT       OF HEALTH&      HUMAN     SERVICES                          office of Inspector Genera!
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                                  NOV211996                                                                  Memorandum
                 Date           .%a~~
                           *   June Gibbs Brown
                 From          Inspector General

                               Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid
                 Subject
                               Prescription Drug Program of the Virginia Department of Medical Assistance Services
                               (A-06-95 -OO072)
                 To

                               Bruce C. Vladeck
                               Administrator
                               Health Care Financing Administration


                               Attached for your information and use is our final report entitled, “Review of Pharmacy
                               Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug
                               Program of the Virginia Department of Medical Assistance Services.” This review was
                               conducted as part of a nationwide audit of pharmacy drug acquisition costs at the Health
                               Care Financing Administration’s request. Most States reimburse pharmacies for
                               Medicaid prescriptions using a formula which generally discounts the average
                               wholesale price (AWP) by 10.5 percent. The objective of our review was focused on
                               developing an estimate of the discount below AWP at which pharmacies purchase brand
                               name and generic drugs.

                               The Virginia Department of Medical Assistance Services (State Agency) was 1 of 11
                               States randomly selected as part of the nationwide review. Virginia reported drug
                               expenditures of $203.1 million in Calendar Year 1994.

                               Through statistical sampling, we obtained pricing information from 24 Virginia
                               pharmacies. We obtained 1,413 invoice prices for brand name drugs, and 686 invoice
                               prices for generic drugs. The overall estimate of the extent that AWP exceeded
                               pharmacy purchase invoice prices was 17.2 percent for brand name drugs and
                               45.1 percent for generic drugs. The national estimates are 18.3 percent and
                               42.5 percent, respectively. The estimates combine the results for four categories of
                               pharmacies including rural-chain, rural-independent, urban-chain, and urban-
                               independent pharmacies. The estimates exclude the results obtained from
                               non-traditional pharmacies (nursing home pharmacies, hospital pharmacies, home IV,
                               etc.) because such pharmacies purchase drugs at substantially greater discounts than
                               retail pharmacies, and including them would have inappropriately inflated our
                               percentages.

                               We are recommending     that the State Agency consider the results of this review as a
                               factor in any future changes to pharmacy reimbursement for Medicaid drugs.
I          Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 3 of 20
    .. .                                .                   .




            Page 2- Bruce C. Vladeck

            In response to our draft report, the Director of the State Agency was appreciative that
            the report stated that acquisition cost is just one factor involved in pharmacy   -
            reimbursement policy and that with any change to that policy, consideration should be
            given to other factors. The complete text of the Director’s comments are included in
            Appendix 4.

           We welcome any comments you have on this Virginia State report. If you have any
           questions, call me or have your staff contact George M. Reeb, Assistant Inspector
           General for Health Care Financing Audits, at (410) 786-7104.

           To facilitate identification,   please refer to Common Identification Number
           A-06-95-00072.

           Attachment
Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 4 of 20



   Department of Health and Human Services
             OFFICE OF
        INSPECTOR GENERAL




              REVIEW OF
  PHARMACY ACQUISITION COSTS FOR
    DRUGS REIMBURSED UNDER THE
MEDICAID PRESCRIPTION DRUG PROGRAM
   OF THE VIRGINIA DEPARTMENT OF
    MEDICAL ASSISTANCE SERVICES




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                                                  JUNE    GIBBS BROWN
                   ;                              Inspector    General
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                                                         NOVEMBER 1996
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I     Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 5 of 20




                                              SUMMARY

    A     t the request of the Health Care Financing Administration (HCFA), the OffIce of Inspector
           General (OIG) conducted a nationwide review of pharmacy acquisition costs for drugs
    reimbursed under the Medicaid prescription drug program. Since most States reimb&e
    pharmacies for Medicaid prescriptions using a formula which discounts the average wholesale
    price (AWP), the objective of our review was to develop an estimate of the discount below AWP
    at which pharmacies purchase brand name and generic drugs.

    To accomplish our objective, we selected a random sample of 11 States from a universe of 48
    States and the District of Cohunbii!i. Arizona was excluded horn the universe of States because
    the Medicaid drug program is a demonstration project using prepaid cavitation financing and
    Tennessee was excluded because of a waiver received to implement a statewide managed care
    program for Medicaid. Virginia was one of the sample States selected, as well as Californi~
    Delaware, District of Columbia, Florida, Maryland, Missouri, Montana, Nebrask~ New Jersey,
    and North Carolina.

    Additionally, we selected a sample of Medicaid pharmacy providers from each State and
    obtained invoices of their drug purchases. The pharmacies were selected from each of five
    categories--rural-chain, rural-independent, urban-chain, urban-independent and non-traditional
    pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
    traditional category so as to be able to exclude those pharmacies from our overall estimates. We
    believed such pharmacies purchase drugs at substantially greater discounts than retail
    pharmacies, and including them would have inflated our percentages.

    We compared each invoice drug price to AWP for that drug and calculated the percentage, if any,
    by which the invoice price was discounted below AWP. We then projected those differences to
    the universe of pharmacies in each category for each State and calculated an overall estimate for
    each State. Additionally, we projected the results from each State to estimate the nationwide
    difference between invoice price and AWP.

    In Virginia, we obtained pricing information from 24 pharmacies. Specifically, we obtained
    1,413 invoice prices for brand name drugs, and 686 invoice prices for generic drugs. For
    Virginia, the overall estimate of the extent that invoice prices were discounted below AWP was
    17.2 percent for brand name drugs and 45.1 percent for generic drugs. The national estimates are
    18.3 percent and 42.5 percent, respectively. The estimates combine the results for four
    categories of pharmacies including rural-chain, rural-independent, urban-chain and urban-
    independent and exclude the results obtained from non-traditional pharmacies’.




      Review   of PharmacyAcquisitionCosts for DrugsReimbursedUnderthe MedicaidPrescriptionDrugProgram
                             of the VirginiaDepartmentof MedicalAssistanceServices
    Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 6 of 20



We are recommending that the Virginia Department of Medical Assistance Services (State
Agency) consider the results of this review as a factor in any fiture changes to pharmacy
reimbursement for Medicaid drugs. We will share the information with HCFA from all 11 States
in a consolidation report for their use in evaluating the overall Medicaid drug program.

The Director of the State Agency responded to our drafl report in a letter dated,
 October 17, 1996. The Director was appreciative that the report stated that acquisition cost is
just one factor involved in pharmacy reimbursement policy and that with any change to that
policy, consideration should be given to the other factors. The complete text of the Director’s
comments are included in Appendix 4.
                                    .




   Review of PharmacyAcquisitionCosts for DrugsReimbursedUnder the MedicaidPrescriptionDrug Program
                        of the VirginiaDepartmentof MedicalAssistanceServices
                                                  ii
  Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 7 of 20




                                   TABLE OF CONTENTS




                                                                                           PAGE

INTRODUCTION                                                                                1


BACKGROUND                                                                                  1



SCOPE                                                                                       2


FINDINGS AND RECOMMENDATIONS                                                                4



CONCLUSIONS AND RECOMMENDATION                                                              6



APPENDICES

        APPENDIX 1- SAMPLE DESCRIPTION

        APPENDIX 2- VIRGINIA SAMPLE RESULTS

        APPENDIX 3- NATIONWIDE SAMPLE RESULTS

        APPENDIX 4- STATE AGENCY COMMENTS




  Reviewof PharmacyAcquisitionCosts for DrugsReimbursedUnderthe MedicaidPrescriptionDrug Program
                      of the VirginiaDepartmentof MedicalAssistanceServices
    Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 8 of 20




                                      INTRODUCTION
At the request of HCFA, OIG, OffIce of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
Virginia Department of Medical Assistance Services (State Agency). The objective of our
review was to develop an estimate of the difference between the actual acquisition costs of drugs
and AWP. This review was conducted as apart of a nationwide review of pharmacy acquisition
costs. Virginia was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limb amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The
AWP is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
Medispan or the Blue Book--publications universally used in the pharmaceutical industry. Prior
to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for 15.9
percent below AWP. In 1989, OIG issued a follow-up report which concluded that pharmacies
were purchasing dtigs at discounts of 15.5 percent below AWP. Both the 1984 and 1989 reports
combined brand name and generic drugs in calculating the percentage discounts and included a
comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual further provided that, absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

h November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
December 31, 1994 and HCFA requested that we, once again, determine the difference between
AWP and actual pharmacy acquisition cost.


    Review of PharmacyAcquisitionCosts for DrugsReimbursedUnderthe MedicaidPrescriptionDrug Program
                         of the VirginiaDepartmentof MedicalAssktance Services
                                                    1
   Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 9 of 20




The State Agency reported drug expenditures of $203.1 million in Calendar Year (CY) 1994.

SCOPE

Our review was performed in accordance with generally accepted government auditing standards.
The objective of our review was to develop an estimate of the difference between AWP and the
actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
providers. Our objective did not require that we identi~ or review any internal control systems.

Our review was limited to ingredient acquisition costs and did not address other areas such as:
the effect of Medicaid business as ? contribution to other store sales; the cost to provide
professional services other than dispensing a prescription such as therapeutic interventions,
patient education, and physician consultation and the cost of dispensing which includes costs for
computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
administrative costs, and general overhead. We also did not take into consideration the effect of
Federal upper limit amounts on generic drug reimbursements or usual and customary charge
limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
reimbursements in a subsequent review.

We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
Agency was responsible for classifying each pharmacy as chain, independent or non-traditional.
For purposes of this review, a chain was defined as four or more pharmacies with common
ownership. We determined whether each pharmacy was rural or urban by comparing the county
location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
components. We selected a stratified random sample of 60 pharmacies with 12 pharmacies
selected from each of 5 strata--rural-chain, rural-independent, urban-chain, urban-independent,
and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). We
included the non-traditional category so as to be able to exclude those pharmacies from our
estimates. We believed that such pharmacies are able to purchase drugs at substantially greater
discounts than a retail pharmacy and would inflate our estimate.

We requested, from each pharmacy selected, the largest invoice from each different source of
supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
Each pharmacy was initially assigned a month from January through September in order to
provide a cross-section of this 9-month time period. However, we permitted one pharmacy to
provide invoices from December as invoices were not available from the earlier period.

We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that
the invoices contained the information necessary for our review. We eliminated over-the-counter
items. Some invoices did not include National Drug Codes (NDC), which were needed to obtain

   Reviewof PharmacyAcquisitionCosts for DrugsReimbursedUnderthe MedicaidPrescriptionDrugProgram
                       of the VirginiaDepartmentof MedicalAssktance Services
                                                 2
  Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 10 of 20



AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red
Book, a nationally recognized reference for drug product and pricing information, to obtain
NDCS or identifi over-the-counter items. One prominent wholesaler, whose invoices contained
that wholesaler’s item number rather than NDCS, provided us with a listing that converted their
item number to an NDC. If we were unable to identi~ the NDC for a drug, we eliminated the
drug. This was a common occurrence for generic drugs where there was no indication on the
invoice as to the manufacturer of the drug.

We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
We used that listing to classi~ each drug on the invoices as brand or generic. If a drug was not
on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
Additionally, we obtained drug ex~enditure information tlom HCFA-64 Reports.

The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
each drug. We compared the invoice drug price to AWP for each drug and calculated the
percentage, if any, by which the invoice price was discounted below AWP. If a drug from an
invoice was not on the pricing file we eliminated that drug.

An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
pharmacy representatives from the sample States. At this meeting, we presented a methodology
for performing the review and the methodology was refined with input from the State
representatives. At a follow-up meeting held in Richmond, Virgini% on September 27-28,
1995, we presented the results of our review with the sample States.

We used OAS statistical computer software to calculate all estimates as well as to generate all
random numbers. We did not independently veri~ any information obtained from third party
sources. Our review was conducted by our Little Rock, Arkansas OAS field office with
assistance from our OAS field ofiices in Baton Rouge, Louisiana, and Austin, Texas from
September 1994 to September 1995.




   Review of PharmacyAcquisitionCosts for DrugsReimbursedUnderthe MedicaidPrescriptionDrug Program
                        of the VirginiaDepartmentof MedicalAssistanceServices
                                                  3
  Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 11 of 20




                                       FINDINGSAND RECOMMENDATIONS
BRAND NME                                 DRUGS

We estimate that invoice prices for brand name drugs were discounted 17.2 percent below
AWP. The estimate combined all pharmacy categories except non-traditional pharmacies and
was based on the comparison to AWP of 1,413 invoice prices received from 24 pharmacies. The
standard deviation for this estimate was 1.31 percent (see Appendix 2).

The estimates that invoice prices for brand name drugs were discounted below AWP are
Summari zed in the following chart: -




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The following chart shows the number of pharmacies sampled and the number of prices
reviewed by individual category for brand name drugs.

                                                                               Numbe$r      of                                                   Prices           from
                                                          Sample                    Pharmacies                                 Sampl=                        Pharmacies




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                Urban-Chain

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  Urban-Independent                                     ..       -    -


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   Review        of PharmacyAcqukhion Costs for Drugs ReimbursedUnderthe MedicaidPrescriptionDrugProgram
                               of the VirginiaDepartmentof MedicalAssistanceServices
                                                         4
    Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 12 of 20




GENERIC DRUGS

We estimate that invoice prices for generic drugs were discounted below AWP by 45.1 percent.
Once again the estimate combined all pharmacy categories except non-traditional pharmacies.
The estimate was based on the comparison to AWP of 686 invoice prices received fi-om 24
pharmacies. The standard deviation for this estimate was 2.67 percent (see Appendix 2).

The estimates that invoice prices for generic drugs were discounted below AWP are summarized
by individual categories in the following chart:




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The following chart shows the number of pharmacies sampled and the number of prices
reviewed by individual category for the generic drugs.

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                                                                                                                                   142
 Urban-Independent                                       ..


                                                 I            I                                 e                                  14?
           Non-Traditional


                                                                  24
 Overall            (Exe.        Non       T)

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     Review          of PharmacyAcqukhion Costs for DrugsReimbursedUnderthe MedicaidPrescriptionDrug Program
                                   of the VirginiaDepartmentof MedicalAssistanceServices
                                                             5
 Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 13 of 20




                 CONCLUSIONS AND RECOMMENDATION

Based on our review, we have determined that there is a significant difference between AWP and
pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
significantly greater for generic drugs than for brand name drugs. In general, State
representatives believed that the review supported current State practices to establish pharmacy
reimbursement for ingredient cost at levels below AWP.

We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
any change to that policy should also consider the other factors discussed in the Scope section of
our report. Additionally, the effect’of Federal upper limit amounts on generic drug
reimbursements or usual and customary charge limitations should be taken into consideration.
However, a change in any of the factors affecting pharmacy reimbursement could have a
significant impact on expenditures because of the size of the program ($203.1 million) in
Virginia. We believe that the difference between AWP and pharmacy acquisition costs as
determined by our review is significant enough to warrant consideration by the State in any
evaluation of the drug program. Therefore, we recommend that the State Agency consider the
results of this review in determining any future changes to pharmacy reimbursement for
Medicaid drugs.

STATE AGENCY COMMENTS

The Director of the State Agency responded to our draft report in a letter dated,
 October 17, 1996. The Director was appreciative that the report stated that acquisition cost is
just one factor involved in pharmacy reimbursement policy and that with any change to that
policy, consideration should be given to the other factors. The complete text of the Director’s
 comments are included in Appendix 4.




   Reviewof PharmacyAcqukhion Costs for Drugs ReimbursedUnderthe MedicaidPrescriptionDrug Program
                       of the VirginiaDepartmentof MedicalAssktanceServices
                                                 6
Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 14 of 20




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                       APPENDICES
 Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 15 of 20




                                                                                      APPENDIX 1
                                                                                      PAGE I OF2

                                   SAMPLE DESCHPTION

Sample Objectives:

      Develop an estimate of the discount below Average Wholesale Prices (AWP) of actual
      invoice prices to Medicaid pharmacies in Virginia for brand name drugs and for generic
      drugs.                      .

Population:

      The sampling population was pharmacy providers participating in the Medicaid
      prescription drug program of the State Agency.

Sampling Frame:

      The sampling frame was a listing of all pharmacy providers participating           in the Medicaid
      prescription drug program.

Sample Design:

      A sample of 12 pharmacies was randomly selected from each of 5 strata. The five strata
      of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
      non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). Each
      pharmacy was assigned a month from 1994 for which to provide invoices. All
      pharmacies were initially assigned a month from January through September in a method
      designed to provide a cross-section of the 9-month period. However, one pharmacy was
      permitted to submit invoices from December as invoices were not available for the month
      originally assigned. The largest invoice from each of four different sources of supply was
      requested. The sources of supply were identified as wholesalers, chain warehouse
      distribution centers, generic distributors, and direct manufacturer purchases. All invoice
      prices were compared to AWP.

Sample Size:

      Twelve pharmacies were selected from each stratum for a total of 60 pharmacies.

Source of Random Numbers:

      OAS     statistical   sampling   software   was used to generate   the random   numbers.
  Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 16 of 20




                                                                           APPENDIx1
                                                                           PAGE2 OF2


Characteristics   to be Measured:

      From our review of the pharmacy invoices, we calculated the percentage of the discount
      below AWP of actual invoice prices for all drugs on the invoices submitted.

Treatment of Missing Sample Items:
                          .
      No spare was substituted for a pharmacy that did not provide information. If a pharmacy
      did not send an invoice for a particular type of supplier, we assumed that the pharmacy
      did not purchase drugs from that type of supplier during the month assigned to the
      pharmacy.

Estimation Methodology:

      We used OAS Statistical Software to project the percentage difference between AWP and
      actual invoice prices for each stratum, as well as an overall percentage difference. The
      overall percentage difference excluded the non-traditional pharmacies. The projections
      were done separately for brand name drugs and generics.

Other Evidence:

      We obtained AWP from First DataBank.
Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 17 of 20




                                                                 APPENDIX 2

                            VIRGINIA    SAMPLE     RESULTS
                      BRAND NAME AND GENERIC             DRUGS




  RURMAMMN
                             u   171      5       567    18.64    0.93    17.97
                                                                                  I
                                                                                  19.31

  RURAHNDEPENDENT                204      8       273    16.43    4.34    13.95   18.90

  URBAN-CHAIN                    622      5       393    16.36    5.68    12.20   20.52

  URBAN-INDEPENDENT              293      6       180    18.83    4.49    15.85   21.82

  NON-TRADITIONAL                 66      8       177    31.11    7.15    27.22   35.01

  OVERALL (EXCL.NON-TRAD)       1,290    24      1,413   17.23     1.31   15.08   19.39




  RURAL-CHMN                     171      5       206    44.90    13.35   35.22   54.58

 UJRAL-INDEPENDENT               204      8       147    47.41    5.42    44.32   50.50

  URBAN-CHAIN                    622      5       191    43.10    9.98    35.79   50.41

  URBAN-INDEPENDENT              293      6       142    48.03    14.85   38.16   57.90

  NON-TRADITIONAL                 66      8       141    56.35    22.70   43.97   68.73

  OVERALL (EXCL.NON-TRAD)       1,290    24       686    45.14    2.67    40.74   49.54
   Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 18 of 20


                                                                    APPENDIX 3

                         NATIONWIDE         SAMPLE      RESULTS
                     BRAND NAME AND GENERIC                 DRUGS




RURAL-CHAIN                 1,095
                                     m�7?       5,723       17.40   1.05   15.67   19.13

RURAL-INDEPENDENT           1,499      7$       3,043       16.39   1.07   14.63   18.15

URBAN-CHAIN                 8,194      7:       7,198       18.45   0.52   17.60   19.31

URBAN-INDEPENDENT           6J42       91       3,009       18.71   0.90   17.22   20.19

NON-TIUUXTTONAL             2,026      6(       1,762      27.52    2.28   23.76   31.27

OVERALL (EXCL.NON-TRAQ      17.030    31!       18,973      18.30   0.66   17.21   19.38




RURAL-CHAIN                 1,095               2,963      47.51    1.63   44.82   50.20

RURAL-INDEPENDENT           1,499               1,798      47.38    0.93   45.85   48.92

URBAN-CHAIN                 8,194               2,634      37.61    2.82   32.97   42.26

URBAN-INDEPENDENT           6,242               1,680      46.72    2.44   42.70   50.73

NON-TRADITIONAL             2,026               1J62       57.70    1.98   54.43   60.96

OVERALL (EXCL.NON-TRAQ      17,030              9,075      42.45    0.90   40.97   43.93
1 -\- -.      Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 APPENDIX
                                                                     Page 19 of 20 4
  .                                                                    Page 1 of 2




                               COMMONWEALTH                            Of   VUKjINIA
                                   Department of Medical Assistance Services
      JOsm+
          M.TEEFEY                                                                                   SUITE 1300
      DIRECTOR                                                                                       E&3 EAST BROAD STREET
                                                     October 17, 1996                                RICHMOND. VA 23219
                                                                                                     a04i7&7933
                                   .                                                                 804/22S-4512 (Fax)
                                                                                                     6@3/343-0634(TDD)

           Mr. M. Ben Jackso~ Jr.            .
           Acting Director, Operational
             and Program Reviews
           Health Care Financing Audit Division
           Department of Health and Human Sexvices
           Office of Inspector General
           Washingto~ D.C. 20201

           Dear Mr. Jackson

                   This lctteris to convey the Virginia Department of Medical Assistance Sewices’ (DMAS)
           comments on the draft report of the results of the Department of Health and Human Services
           Office of Inspector General’s review of pharmacy acquisition cost for drugs reimbursed under the
           prescription drug program.

                   As a result of this nationwide review of eleven states chosen at rando~ Virginia was
           selected for sampling and participation in the capacity of not only requesting randomly selected
           providers to submit purchase invoices for analysis, but also hosting two conferences for
           representatives of HCF~ OIG, and states involved in the study.               .

                   DMAS appreciates the recommendation that Virginia Medicaid consider the results of this
           review as a factor in any fbture changes to pharmacy reimbursement for Medicaid specific drugs
           ‘mthe state program. As stated Medicaid reimbursement rates to pharmacy providers for covered
           outpatient prescription drugs consists of two components which are ( 1) an amount representing
           the drug ingredient cost (the acquisition cost) and, (2) an amount representing the professional or
           dispensing fee. Normally the reimbursement cost is based on the lower of EAC (estimated
           acquisition cost), usurd and customa~, or FUL (Federal upper Limit) and Maximum Allowable
           Costs. As stated in the draft of these reviews, the acquisition cost is just one factor involved in
           pharmacy reimbursement policy Or methcxiology,     and with   any change, consideration   should be
           given to other factors such as the following:

                           - Impact on recipient access to semice.
                           - Present rebate allowances from pharmaceutical manufacturers to
                             both federal and state programs.
                           - Provider specialty care or level of care such as Home Health providers.             ““
                           - Coordination of monitoring for recipients with compliance needs.
                           - Overhead costs for dispensing finctions and record keeping.
I   -%. -   Case 1:01-cv-12257-PBS Document 6208-20 Filed 06/29/09 Page 20 of 20 4
                                                                   APPENDIX
                                                                                          Page 2 of 2


            Mr. M. Ben Jackson, Jr.
            October 17, 1996
            Page Two



                   This does not necessarily cover inclusively the factors that are involved in assuring that the
            Medicaid recipient receives the most efficient and cost-effective health care available, but does
            emphasize that when one aspect of the equation is rdTected,all possible consequences should be
            considered.
                                               .        ‘.

                   I would like to take this opportunity to express Virginia Medicaid’s appreciation for the
            cooperative effort in which this review was undertaken.

                                                             Sincerely,




                                                             Director       - “

            JMT:dbs

            ~: June Gibbs Brow      Inspector General
